                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE

   GREG ADKISSON, et al.,                   )
             Plaintiffs,                    )
   v.                                       )   No.:   3:13-CV-505-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,          )
             Defendant.                     )
                                            )   Lead Case Consolidated with
                                            )
   KEVIN THOMPSON, et al.,                  )
             Plaintiffs,                    )
   v.                                       )   No.:   3:13-CV-666-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,          )
             Defendant.                     )
                                            )   as consolidated with
                                            )
   JOE CUNNINGHAM, et al.,                  )
             Plaintiffs,                    )
   v.                                       )   No.:   3:14-CV-20-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,          )
             Defendant.                     )
                                            )
                                            )
   BILL ROSE,                               )
                Plaintiff,                  )
   v.                                       )   No.:   3:15-CV-17-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,          )
             Defendant.                     )
                                            )
                                            )
   CRAIG WILKINSON, et al.,                 )
             Plaintiffs,                    )
   v.                                       )   No.:   3:15-CV-274-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,          )
             Defendant.                     )
                                            )
                                            )
   ANGIE SHELTON, as wife and next of       )
   Kin on behalf of Mike Shelton, et al.,   )
                 Plaintiffs,                )
   v.                                       )   No.:   3:15-CV-420-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,          )
                 Defendant.                 )
                                            )



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 1 of 31 PageID #: 9638
   JOHNNY CHURCH,                                 )
             Plaintiff,                           )
   v.                                             )       No.:   3:15-CV-460-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,                )
             Defendant.                           )
                                                  )
                                                  )
   DONALD R. VANGUILDER, JR.,                     )
             Plaintiff,                           )
   v.                                             )       No.:   3:15-CV-462-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,                )
             Defendant.                           )
                                                  )
                                                  )
   JUDY IVENS, as sister and next of kin,         )
   on behalf of JEAN NANCE, deceased,             )
                 Plaintiff,                       )
   v.                                             )       No.:   3:16-CV-635-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,                )
                 Defendant.                       )
                                                  )
                                                  )
   PAUL RANDY FARROW,                             )
             Plaintiff,                           )
   v.                                             )       No.:   3:16-CV-636-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,                )
             Defendant.                           )
                                                  )


                          MEMORANDUM OPINION AND ORDER

          This matter is before the Court on defendant’s two pending dispositive motions: one

   for summary judgment on the issue of general causation [Doc. 237], and one for judgment on

   the pleadings with respect to plaintiffs’ strict liability claims [Doc. 251]. Plaintiffs oppose

   both motions [Doc. 253 (summary judgment); Doc. 254 (judgment on the pleadings)].

   Defendant replied for the summary judgment motion only [Doc. 263]. Recently, at the Court’s

   request, the parties simultaneously filed supplemental briefs addressing biological plausibility

                                                  2



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 2 of 31 PageID #: 9639
   and bioavailability, two matters relating to general causation [Doc. 296 (plaintiffs); Doc. 295

   (defendant)].

          Defendant’s summary judgment motion will be denied because plaintiffs have put

   forward evidence from which a reasonable jury could find that plaintiffs’ exposure was capable

   of causing the complained-of diseases. Defendant’s motion for judgment on the pleadings will

   be granted because plaintiffs do not have a cognizable strict liability claim under Tennessee

   state law. After a brief background, each motion will be addressed in turn.

   I.     Background

          The facts and procedural history of this case are long, complicated, and well-

   documented in numerous other court filings [E.g., Doc. 39, at 2–16; Doc. 279, at 3–8]. The

   background necessary for resolving these motions follows.

           Plaintiffs, who worked, or had spouses or next of kin who worked, on the fly ash1

   cleanup, removal, and recovery project at the Kingston Fossil Fuel Plant following the

   December 22, 2008, ash spill in Roane County, Tennessee [see Doc. 59], brought these actions

   against defendant. Plaintiffs’ claims are for negligence, negligence per se, recklessness, fraud,

   misrepresentation, and strict liability for ultrahazardous or abnormally dangerous activity [Id.

   at ¶ 70–125]. They allege that defendant’s failings as construction manager caused plaintiffs’




          1
            “Fly ash is a product of burning finely ground coal in a boiler to produce electricity. Fly
   ash is removed from the plant exhaust gases primarily by electrostatic precipitators or baghouses
   and secondarily by wet scrubber systems. Physically, fly ash is a very fine, powdery material,
   composed mostly of silica. Nearly all particles are spherical in shape.” 75 Fed. Reg. 35128, 35137
   (June 21, 2010). The term “coal ash” has been used in the briefing to describe what appears to be
   the same substance. This opinion will refer to the substance as “fly ash,” except where quoting a
   source that does otherwise.
                                                    3



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 3 of 31 PageID #: 9640
   personal injuries, including pulmonary injuries, leukemia, sinus injuries, and skin problems,

   as a result of “continuous, unlawful exposure to arsenic, the neurotoxin mercury, barium,

   strontium, thallium, lead, silica, quartz, asbestos, radioactive material, selenium, aluminum

   oxide, iron oxide, calcium oxide, boron and other hazardous substances associated with” fly

   ash while working on the cleanup [Doc. 59 at ¶ 48, 89].

          The trial will take place in two phases [Doc. 136]. “Phase I will involve issues and

   evidence relating to: (1) whether defendant owed plaintiffs a legal duty; (2) whether defendant

   breached that duty; and (3) whether defendant’s breach was capable of causing plaintiffs’

   alleged injuries” [Doc. 136 at 7]. “Phase II will involve issues and evidence relating to: (1)

   specific causation with respect to individual plaintiffs; (2) each plaintiff’s alleged injuries; and

   (3) the extent to which individual plaintiffs are entitled to damages” [Id.]. In other words,

   Phase I will deal with, among other things, the issue of general causation, and Phase II will

   deal with, among other things, specific causation concerning each individual plaintiff [Id.].

   Phase I of the trial is currently scheduled for October 16, 2018 [Doc. 265]. Phase II would

   begin at some undetermined date thereafter.

          Discovery disputes have ensued, all the details of which need not be recounted.

   Plaintiffs have withdrawn all of their experts, except for one: Dr. Paul Terry, an epidemiologist

   who will testify about general causation [Doc. 261, at 1, 5–6]. Magistrate Judge Guyton

   described Dr. Terry’s expert report2 as follows:

          Dr. Terry’s general causation analysis, which seeks to answer whether
          “exposure to a chemical or other factor [can] cause a disease,” now employs an

          2
           This is technically Dr. Terry’s third expert report, but his first two have been withdrawn
   [Doc. 261].
                                                    4



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 4 of 31 PageID #: 9641
          extensive literature review methodology to determine whether specific
          components of coal fly ash reported to be present at the Site—fine particulate
          matter, arsenic, cadmium, chromium, lead, nickel, vanadium, and naturally
          occurring radioactive materials—are causally associated with the specific
          diseases reported by Plaintiffs, including hypertension, coronary artery disease,
          lung cancer, leukemia, non-melanoma skin cancer, allergic contact dermatitis,
          peripheral neuropathy, asthma, chronic obstructive pulmonary disease, and
          various respiratory conditions such as cough, sore throat, dyspnea on exertion,
          chest pain or discomfit, bronchitis, and emphysema.

   [Doc. 279, at 4-6]. Defendants, arguing that Dr. Terry’s opinions were not reliable, moved to

   exclude his report and testimony under Rule 702 and Daubert [Doc. 241]. Magistrate Judge

   Guyton issued an order denying that motion [Doc. 279]. Defendant’s objections to that order

   were overruled [Doc. 291]. In the meantime, the Court took judicial notice of the existence of

   the Administrative Order on Consent [Doc. 287].

          Defendants have two experts on general causation. Dr. Scott D. Phillips, a board-

   certified physician in internal medicine and medical toxicology, opines that “[p]laintiffs have

   not been exposed at Kingston Fossil Plant to levels of fly ash sufficient to cause illness,” and

   that “[m]etals are bound to the fly ash particles and are not dissolving out of the particles and

   into the body to cause illness” [Doc. 237-7, at 6 of 90]. Dr. David. G. Hoel, an epidemiologist,

   has not addressed Dr. Terry’s latest report, but states, “The scientific literature does not support

   Dr. Terry’s conclusions about fly ash exposures at low exposure levels” [Doc. 237-8, at 7 of

   41].    Dr. Hoel’s report also generally discusses the science of epidemiology and

   epidemiological methods [Id. at 7–11].

           Before the Court is defendant’s motion for summary judgment on the issue of general

   causation, and also defendant’s motion for judgment on the pleadings on its strict liability for



                                                    5



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 5 of 31 PageID #: 9642
   ultrahazardous or abnormally dangerous activity. For the reasons that follow, the summary

   judgment motion will be denied, but the motion for judgement on the pleadings will be granted.

   II.    Summary judgment on the issue of general causation is not warranted.

          Summary judgment is not proper here because there is evidence in the record from

   which a reasonable jury could conclude that plaintiffs have met their burden on general

   causation. Plaintiffs have presented evidence that they, in general and as a group, were

   exposed to large amounts of coal and fly ash at the Kingston site and were not allowed to wear

   protection. Defendant concedes that the toxic constituents found in that ash can, under certain

   circumstances, cause the complained-of diseases. Moreover, Dr. Terry’s report discusses the

   levels of various toxic constituents found within the Kingston fly ash, and concludes, based on

   his review of hundreds of epidemiological studies, that those levels can cause many of the

   complained-of diseases. Defendant’s counterarguments—concerning biological plausibility

   and bioavailability—are unavailing, as a causal association can exist without either, and there

   is enough evidence for a reasonable jury to draw that conclusion here. For these reasons,

   summary judgment on the issue of general causation will be denied.

           A.      Legal Standard

          Summary judgment under Rule 56 of the Federal Rules of Civil Procedure is proper “if

   the movant shows that there is no genuine dispute as to any material fact and the movant is

   entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The moving party—here,

   defendant—bears the burden of establishing that no genuine issues of material fact exist.

   Celotex Corp. v. Catrett, 477 U.S. 317, 330 n.2 (1986); Moore v. Phillip Morris Cos., Inc., 8

   F.3d 335, 339 (6th Cir. 1993). All facts and all inferences to be drawn therefrom must be

                                                 6



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 6 of 31 PageID #: 9643
   viewed in the light most favorable to the non-moving party, here, the plaintiffs. Matsushita

   Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986); Burchett v. Kiefer, 301

   F.3d 937, 942 (6th Cir. 2002).

          “Once the moving party presents evidence sufficient to support a motion under Rule

   56, the nonmoving party is not entitled to a trial merely on the basis of allegations.” Curtis

   Through Curtis v. Universal Match Corp., 778 F. Supp. 1421, 1423 (E.D. Tenn. 1991) (citing

   Celotex, 477 U.S. at 317). To establish a genuine issue as to the existence of a particular

   element, the non-moving party must point to evidence in the record upon which a reasonable

   finder of fact could find in its favor. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

   The genuine issue must also be material; that is, it must involve facts that might affect the

   outcome of the suit under the governing law. Id.

          The Court’s function at the point of summary judgment is limited to determining

   whether sufficient evidence has been presented to make the issue of fact a proper question for

   the factfinder. Anderson, 477 U.S. at 250. The Court does not weigh the evidence or determine

   the truth of the matter. Id. at 249. Nor does the Court search the record “to establish that it is

   bereft of a genuine issue of material fact.” Street v. J.C. Bradford & Co., 886 F.2d 1472, 1479–

   80 (6th Cir. 1989). Thus, “the inquiry performed is the threshold inquiry of determining

   whether there is a need for a trial—whether, in other words, there are any genuine factual

   issues that properly can be resolved only by a finder of fact because they may reasonably be

   resolved in favor of either party.” Anderson, 477 U.S. at 250.




                                                   7



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 7 of 31 PageID #: 9644
          “[S]ummary judgment is not intended to resolve disagreements among experts.” Spirit

   Airlines, Inc. v. Northwest Airlines, Inc., 431 F.3d 917, 931 (6th Cir. 2005); see also Phillips

   v. Cohen, 400 F.3d 388, 399 (6th Cir. 2005) (“Indeed, competing expert opinions present the

   ‘classic battle of the experts and it [is] up to a jury to evaluate what weight and credibility each

   expert opinion deserves.’”); Boyer v. Lacy, 665 Fed. Appx. 476, 483 (6th Cir. 2016) (“[O]n a

   motion for summary judgment, weighing and drawing inferences from competing medical-

   opinion evidence, and determining the credibility of medical experts, are functions reserved

   for the jury.”); Walker v. Rhea Medical Center, No. 1:06-cv-248, 2008 WL 11342607, at *3

   (E.D. Tenn., Sept. 30, 2008) (“These contradictory expert opinions establish a significant and

   genuine issue of material fact that cannot be resolved on summary judgment”).

           B.       A reasonable jury could find for plaintiffs on general causation.

          Under Tennessee law, it is the plaintiffs’ burden to show that defendant’s allegedly

   tortious conduct was the factual cause of their injuries. See Bradshaw v. Daniel, 854 S.W.2d

   865, 869 (Tenn. 1993). “Cause in fact[] means that the injury or harm would not have occurred

   ‘but for’ the defendant’s negligent conduct.” Kilpatrick v. Bryant, 868 S.W.2d 594, 598 (Tenn.

   1993). Because the causal mechanisms of disease are usually not self-evident or self-proving,

   this inquiry is notoriously tricky in toxic-tort cases, which are therefore usually “won or lost

   on the strength of the scientific evidence presented to prove causation.” Rider v. Sandoz

   Pharm. Corp., 295 F.3d 1194, 1197 (11th Cir. 2002). The factual causation inquiry is therefore

   often split into two parts, general and specific causation. See Restatement (Third) of Torts:

   Phys. & Emot. Harm § 28 cmt. c. (2010). The Sixth Circuit has endorsed this practice: “In a

   toxic-tort case . . . the plaintiff must establish both general and specific causation.” Pluck v.

                                                    8



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 8 of 31 PageID #: 9645
   BP Oil Pipeline Co., 640 F.3d 671, 676–77 (6th Cir. 2011) (citing In re Meridia Prod. Liab.

   Litig., 328 F. Supp. 2d 791, 798 (N.D. Ohio 2004)). General causation requires “proof that the

   toxic substance is capable of causing . . . the plaintiff’s alleged injury.” Pluck, 640 F.3d at

   676–77. In contrast, specific causation requires “proof that the toxic substance . . . did cause[]

   the plaintiff’s alleged injury.” Id. This basic distinction is well-accepted in the federal courts.3

          Only general causation is at issue here.4 As explained above, “‘General causation’

   exists when a substance is capable of causing a given disease.” Restatement (Third) of Torts:




          3
            See e.g., Knight v. Kirby Inland Marine Inc., 482 F.3d 347, 351 (5th Cir. 2007) (“General
   causation is whether a substance is capable of causing a particular injury or condition in the general
   population, while specific causation is whether a substance caused a particular individual’s
   injury.”); Raynor v. Merrell Pharms., Inc., 104 F.3d 1371, 1376 (D.C. Cir. 1997) (“[T]estimony
   on specific causation had legitimacy only as follow-up to admissible evidence that the drug in
   question could in general cause birth defects”).
          4
            Because this action is before the Court based on diversity jurisdiction under 28 U.S.C.
   § 1332, the Court must apply the substantive law of the forum state—here, Tennessee. Savedoff
   v. Access Grp., Inc., 524 F.3d 754, 762 (6th Cir. 2008) (citing Erie R.R. v. Tompkins, 304 U.S. 64,
   78 (1938)). To determine that law, federal courts first look to see if the forum state’s highest court
   has spoken to the issue; if it has, the federal court is generally bound by that decision. Kirk v.
   Hanes Corp. of N.C., 16 F.3d 705, 707 (6th Cir. 1994). If the state high court has not addressed a
   particular question, the federal court must make a so-called Erie guess, which is an attempt to
   predict what the state high court would do if confronted with the issue. Conlin v. Mortgage Elec.
   Registration Sys., Inc., 714 F.3d 355, 358 (6th Cir. 2013). In making this determination, on-point
   state appellate court decisions are generally conclusive “absent a strong showing that the state’s
   highest court would decide the issue differently.” In re Akron–Cleveland Auto Rental, Inc., 921
   F.2d 659, 662 (6th Cir. 1990).
           Here, it appears that neither the Tennessee Supreme Court, nor any of Tennessee’s Courts
   of Appeals, have considered the standard for general (or, for that matter, specific) causation in
   toxic-tort cases. Accordingly, the Court will “consider all relevant data, including jurisprudence
   from other jurisdictions,” Combs v. Int’l Ins. Co., 354 F.3d 568, 577 (6th Cir. 2004) (internal
   citations and quotation marks omitted), and will “make [the] best prediction, even in the absence
   of direct state court precedent, of what the [Tennessee] Supreme Court would do if it were
   confronted with this question,” Managed Health Care Assocs., Inc. v. Kethan, 209 F.3d 923, 927
   (6th Cir. 2000) (first alteration in original) (quoting Welsh v. United States, 844 F.2d 1239, 1245
   (6th Cir. 1988)).
                                                     9



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 9 of 31 PageID #: 9646
 Phys. & Emot. Harm § 28, cmt. c.(3) (2010); see also Norris v. Baxter Healthcare Corp., 397

 F.3d 878, 881 (10th Cir. 2005) (“General causation is whether a substance is capable of causing

 a particular injury or condition in the general population.”). In Sterling v. Velsicol Chem.

 Corp., 855 F.2d 1188 (6th Cir. 1988), the Sixth Circuit explained that the concept of “generic

 causation,” as general causation is sometimes called, relates to “whether the combination of

 the chemical contaminants and the plaintiffs’ exposure to them had the capacity to cause the

 harm alleged.” Id. at 1200.

                1.    Plaintiffs have presented adequate evidence of their exposure to fly
                      ash for general causation purposes.

        The parties disagree about whether, and to what extent, plaintiffs are required to prove

 their exposure at this stage of the litigation. According to defendant, plaintiffs must prove:

 “the minimum levels of exposure to constituents of fly ash necessary to cause the types of

 illnesses they allege,” and “the doses or levels of the constituents to which Plaintiffs were

 potentially exposed while working at Kingston, i.e., actual exposure to potentially harmful

 levels of the constituents” [E.g., Doc. 295, at 12]. Plaintiffs, on the other hand, argue that

 general causation “does not require proof of the doses or levels of the constituents to which

 individual Plaintiffs were exposed while cleaning up the coal fly ash at Kingston” [E.g., Doc.

 253, at 12].

        Plaintiffs have the better of this argument. Plaintiffs need not show any one individual

 plaintiff’s exposure level, because general causation does not require individualized proof.

 The Sixth Circuit, noting that general causation is suitable for class-wide adjudication,

 suggested as much in Sterling: “Although such generic and individual causation may appear


                                               10



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 10 of 31 PageID #:
                                    9647
 to be inextricably intertwined, the procedural device of the class action permitted the court

 initially to assess the defendant’s potential liability for its conduct without regard to the

 individual components of each plaintiff’s injuries.” Sterling v. Velsicol Chem. Corp., 855 F.2d

 1188, 1200 (6th Cir. 1988) (emphasis added). And in Pluck v. BP Oil Pipeline Co., 640 F.3d

 671 (6th Cir. 2011), the Sixth Circuit clearly stated that such proof relates to specific, not

 general, causation: “As to specific causation, the plaintiff must show that she was exposed to

 the toxic substance and that the level of exposure was sufficient to induce the complained-of

 medical condition.” Id. at 677 (cleaned up). Moreover, the court in Pluck referred to the expert

 opinion, which the district court had excluded for failing to quantify plaintiffs’ exposure to

 benzene, as a “specific causation opinion.” Id.

        Other federal appellate courts similarly suggest that individualized proof is not required

 to prove general causation. See, e.g., McClain v. Metabolife Intern., Inc., 401 F.3d 1233, 1239

 (11th Cir. 2005) (“General causation is concerned with whether an agent increases the

 incidence of disease in a group and not whether the agent caused any given individual’s

 disease” (quoting Michael D. Green et al., Reference Guide on Epidemiology, in Reference

 Manual on Scientific Evidence 392 (Federal Judicial Center, 2d ed. 2000))); In re Hanford

 Nuclear Reservation Litigation, 292 F.3d 1124, 1133–35 (9th Cir. 2002) (hereinafter, “In re

 Hanford”) (“General, or ‘generic’ causation has been defined by courts to mean whether the

 substance at issue had the capacity to cause the harm alleged, while ‘individual causation’

 refers to whether a particular individual suffers from a particular ailment as a result of exposure

 to a substance.”).



                                                 11



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 11 of 31 PageID #:
                                    9648
         This general understanding makes sense. Because general causation is something all

 plaintiffs have in common, individualized proof cannot be necessary. Indeed, that is why

 general causation is often litigated on a class-wide, or at least collective or consolidated, basis.

 In McClain, for example, the Eleventh Circuit recognized (albeit in dicta) that, in cases where

 “the medical community generally recognizes the toxicity of the drug or chemical at issue,”

 the court need not extensively analyze general causation. Id. at 1239. If defendants are correct

 that toxic-tort plaintiffs must quantify their exposures to show general causation, the Eleventh

 Circuit’s statement cannot be true, because plaintiffs would still have to put forward extensive

 evidence on exposure and dose. Requiring quantified proof of plaintiffs’ exposure, like

 defendant suggests, would thus frustrate the main reason for bifurcating toxic-tort trials in the

 first place.

         This is not to suggest that the concepts of exposure and dose are irrelevant to the general

 causation inquiry. Rather, as a matter of basic science, “the dose makes the poison.” Bernard

 D. Goldstein & Mary Sue Henifin, Reference Guide on Toxicology, in Reference Manual on

 Scientific Evidence 636 (Federal Judicial Center 3d ed. 2011) (hereinafter, “Reference

 Manual”). Thus, there are safe exposures levels of many substances normally considered

 “dangerous,” and conversely, dangerous exposure levels to many substances normally

 considered “safe.” Therefore, to say that a chemical agent is capable of causing a disease—

 i.e., that plaintiffs’ burden on general causation is satisfied—without some reference to a

 particular dose, would be incoherent. But, as explained above, general causation does not

 require individual or particularized proof about dose or exposure because those matters fall

 within the ambit of specific causation. Rather, at this stage of this litigation, it is enough for

                                                 12



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 12 of 31 PageID #:
                                    9649
 plaintiffs to show that the amount of toxic constituents generally present in the fly ash at the

 Kingston site was capable of causing the complained-of diseases.5

        As far as their exposure is concerned, plaintiffs have met that burden. The record is

 replete with evidence about plaintiffs’ exposure to fly ash. Plaintiffs, other fly-ash cleanup

 workers, and their families have provided declarations concerning their significant and

 repeated exposure to fly ash [see Docs. 253, 255, Exhibits 6–21], photographs of fly ash in the

 air and on worker’s skin and clothing [see Docs. 255, 256, Exhibits 22–24], and deposition

 excerpts with testimony concerning plaintiffs’ exposure [see Doc 256, Exhibits 26–41]. These

 affidavits show that plaintiffs worked various jobs in the fly-ash cleanup, many in the so-called

 “Exclusion Zone,” where the amount of fly ash was greatest. The ash was abundant and often

 airborne, obscuring vision [Doc. 255-6, at 4], and sometimes producing “ash twisters[s]” [Doc.

 256-3, at 8 or 10]. The fly ash would find its way into plaintiffs’ mouths [Doc. 255-4, at 4],

 and other orifices [Doc. 255-5, at 4]. One affiant recounts his being stuck in knee-deep fly ash

 for approximately ten minutes [Doc. 255-5, at 4]. Another affiant recalls that some plaintiffs

 ate food that had been contaminated with fly ash and were told that it was safe to do so [Doc.

 253-7]. Moreover, there is evidence in the record that plaintiffs were not allowed to wear

 respiratory protection or dust masks, despite requests, and even when prescribed by a doctor




        5
            Defendant appears to more or less agree with this standard at one point in its reply brief:
 “In other words, Plaintiffs need not prove the levels to which particular individuals were exposed
 at this stage, but they are required to prove that the nature and degree of the exposure to fly ash to
 which Plaintiffs and others might have been subjected could have caused the types of illnesses
 they allege” [Doc. 257, at 4].
                                                  13



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 13 of 31 PageID #:
                                    9650
 [e.g., Docs. 109-2, at 4; 253-11, at 4]. The evidence proffered of plaintiffs’ collective,

 significant exposure to fly ash is legion and need not be detailed further.

        For general causation purposes, “[p]roof of exposure may entail relatively

 straightforward historical facts, such as the presence of asbestos at the plaintiff’s workplace.”

 Restatement (Third) of Torts: Phys. & Emot. Harm § 28, cmt. c.(3) (2010). Here, these

 historical facts show such extensive exposure that further proof is unnecessary at this stage of

 the litigation. Plaintiffs have done more than enough to demonstrate exposure sufficient to

 overcome summary judgment on general causation.

        Contrary to defendant’s argument, this Court’s decision in In re Tennessee Valley Auth.

 Ash Spill Litig., 805 F. Supp. 2d 468 (E.D. Tenn. 2011) (hereinafter, “In re TVA”), does not

 compel a different conclusion.      Defendant quotes the Court’s statement that “the mere

 existence of a toxin in the environment is insufficient to establish causation without proof that

 the individual was actually exposed to the toxin and at a level sufficient to cause injury or

 stress,” id. at 482, as legal authority that plaintiffs must show their actual exposure levels to

 toxic fly-ash constituents to establish general causation. This argument, however, fails to

 account for the different context and procedural posture in which the Court penned that

 opinion. There, the trial had not yet been bifurcated, which is why the opinion never discusses

 the distinction between general and specific causation, and also why much of the opinion, as

 plaintiffs correctly point out, speaks in terms that would clearly relate to specific, rather than




                                                14



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 14 of 31 PageID #:
                                    9651
 general, causation in a trial plan bifurcated like the present one.6 There, unlike here, both

 general and specific causation issues were still on the table and ripe for resolution at summary

 judgment. All of these statements of law are, of course, still true: plaintiffs do have to show

 their actual exposures to disease-causing doses (through individualized proof), and they do

 have to show that those exposures actually did cause their individual diseases (by, for example,

 eliminating alternative causes). Just, not now. Those matters all relate to specific causation,

 see, e.g., Pluck, 640 F.3d at 677, and will thus be litigated in phase two of this case.

                2.      A reasonable jury could conclude that the toxic constituents in fly
                        ash are capable of causing the complained-of diseases.

        There is no serious dispute that the identified constituents of fly ash are capable of

 causing the identified diseases. Indeed, the record evidence is clear, and defendant explicitly

 concedes, that the chemical constituents found in the Kingston fly ash are capable of causing

 most of the complained-of diseases [E.g., Doc 283, at 19]. Furthermore, Dr. Terry’s third

 report discusses the amount of each constituent in the fly ash at Kingston [Doc. 261-1, at, e.g.,

 12–13 (lead), 15–16 (arsenic)], and the Administrative Order on Consent confirms that the ash

 at the Kingston site contained the constituents listed in Dr. Terry’s report [Doc. 267-1, at 7].

 Dr. Terry’s report collected hundreds of studies with populations exposed to the fly-ash

 constituents through various different exposure pathways and systematically reviewed those



        6
          See, e.g., TVA, 805 F. Supp. 2d at 480 (“It is the responsibility of each individual plaintiff
 to show that his or her specific injuries or damages were proximately caused by ingestion or
 otherwise using the contaminated water. We cannot emphasize this point strongly enough because
 generalized proofs will not suffice to prove individual damages.” (cleaned up) (quoting Sterling,
 855 F.2d at 1200)); id. at 482 (“Plaintiffs have not put forth evidence of a causation link between
 exposure to the ash and a specific personal injury, respiratory symptom, or emotional distress.”
 (emphasis added)).
                                                   15



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 15 of 31 PageID #:
                                    9652
 reports. For each of the toxic constituents, the report concludes, based on analysis of data

 gleaned from the hundreds of cited studies, that the levels found in the Kingston fly ash were

 capable of causing the identified diseases. Specifically, Dr. Terry’s report concludes that:

        1.  Lead in coal ash can cause hypertension.
        2.  Arsenic, cadmium, and fine particulate matter in coal ash can cause
            coronary artery disease.
        3. Arsenic, cadmium, chromium, and fine particulate matter in coal ash can
            cause lung cancer.
        4. Ionizing radiation in coal ash can cause leukemia.
        5. Arsenic in coal ash can cause non-melanoma skin cancer.
        6. Chromium and nickel in coal ash can cause allergic contact dermatitis
            (skin allergy).
        7. Arsenic and lead in coal ash can cause peripheral neuropathy.
        8. Chromium, fine particulate matter, nickel, and vanadium in coal ash can
            cause asthma.
        9. Cadmium and fine particulate matter in coal ash can cause chronic
            obstructive pulmonary disease.
        10. Fine particulate matter and other coal ash constituents can cause
            respiratory conditions, including cough, sore throat, dyspnea on exertion,
            chest pain or discomfort, bronchitis and emphysema.

 [Doc. 261-1, at 5]. Based on these facts—Dr. Terry’s conclusions that the abovementioned

 constituents are capable of causing the abovementioned diseases—combined with plaintiffs’

 significant and repeated exposure to fly ash (discussed above), a reasonable jury could

 conclude that plaintiffs’ exposure to those constituents was capable of causing those diseases.

        To be sure, defendant’s experts disagree with Dr. Terry’s assessment. But “summary

 judgment is not intended to resolve disagreements among experts.” Spirit Airlines, Inc. v.

 Northwest Airlines, Inc., 431 F.3d 917, 931 (6th Cir. 2005). Of course, defendants remain free

 to challenge Dr. Terry’s conclusions at trial, either by their own experts or through

 crossexamination.    Moreover, neither defendant’s motion, reply, or supplemental brief

 challenges Dr. Terry’s conclusion about the ability of any individual fly-ash constituent to

                                               16



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 16 of 31 PageID #:
                                    9653
 cause any associated disease (by arguing, for example, that Dr. Terry was wrong about how

 much lead was in the Kingston fly ash, or about there being a causal association between lead

 and hypertension).7 Rather, defendant’s arguments all appear to be based on wholesale

 challenges to Dr. Terry’s report based primarily on the biological plausibility and

 bioavailability of fly ash, arguments which are addressed at length in the next section. As it

 stands, there is sufficient evidence for a reasonable jury to conclude that plaintiffs have met

 their burden on general causation.

        Case law supports this conclusion. In In re Hanford, the Ninth Circuit reversed the

 district court, which had required the plaintiffs “to prove that they were exposed to a specific

 level of radiation” in order to establish general causation. 292 F.3d at 1137. In doing so, the

 Ninth Circuit held that the plaintiffs’ expert testimony, which showed “the generic capacity of

 levels of radiation emitted from the Hanford facility to cause the illnesses experienced by the

 plaintiffs,” was sufficient to establish general causation, which required only “evidence that

 radiation was capable of causing the type of injuries plaintiffs actually suffered.” Id. Thus, it

 appears that the plaintiffs in Hanford had not shown that their exposures were capable of

 causing disease, as defendants imply, but rather that the general levels of radiation emitted




        7
           For this reason, the Court declines to discuss in detail each individual fly-ash constituent
 associated with each individual disease. Dr. Terry’s testimony at trial, and consequentially
 plaintiffs’ recovery, will be limited to the constituents and causal associations identified in his
 report.
                                                  17



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 17 of 31 PageID #:
                                    9654
 from the Hanford facility were capable of doing so.8 Here, Dr. Terry has similarly offered

 testimony about the “generic capacity” of the levels of the toxic constituents found in the

 Kingston fly ash to cause disease, and has concluded, based on his literature review, that those

 levels were capable of causing various diseases. In re Hanford thus supports the conclusion

 that general causation is satisfied here.

        Defendants contend that McClain v. Metabolife, 401 F.3d 1233 (11th Cir. 2005), is

 instructive because the general causation proof there was “similar to that offered by Plaintiffs

 in this case.” The Court disagrees. There, the Eleventh Circuit found the opinions of plaintiffs’

 general causation expert—who was “an expert in pharmacy, pharmacology, and nutrition”—

 unreliable under Daubert and Federal Rule of Evidence 702. Id. at 1239–40. The court

 explained:

        O’Donnell’s opinions lack the indicia of reliability necessary to survive a
        Daubert inquiry and challenge under Rule 702. He draws speculative
        conclusions about Metabolife’s toxicity from questionable principles of
        pharmacology, while at the same time, neglecting the hallmark of the science of
        toxic torts—the dose-response relationship. He also draws unsubstantiated
        analogies between ephedrine and phenylpropanolamine, infers conclusions
        from studies and reports that the papers do not authorize, and unjustifiably relies
        on government public health reports and consumer complaints to establish
        medical causation. In short, O’Donnell does not support his opinions with
        sufficient data or reliable principles, as identified by the Daubert rubric, and
        fails to follow the basic methodology that experts should follow in toxic tort
        cases.
        8
            Because the Ninth Circuit reversed the district court for exceeding the scope of the general
 causation inquiry by requiring individualized proof, any statements about the minimum
 requirements of general causation, i.e., what type of exposure plaintiffs must show, were not
 necessary to the disposition of that case and are thus dicta. See Black’s Law Dictionary (10th ed.
 2014) (defining “dictum” as, “A court’s stating of a legal principle more broadly than is necessary
 to decide the case”). Defendant’s statement that “[t]he court did, in fact, hold that in order to
 establish general causation, the plaintiffs were required to prove that the levels of radiation to
 which they claimed they were exposed were capable of causing their alleged injuries,” [Doc. 263,
 at 7], is therefore incorrect.
                                                   18



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 18 of 31 PageID #:
                                    9655
 Id. at 1240. The expert’s opinion concluded, for example, that “any amount of Metabolife is

 too much,” which ignored basic principles of toxicology. Here, in contrast, Dr. Terry has

 identified the levels of many toxic constituents present in the Kingston fly ash, analyzed

 hundreds of peer-reviewed epidemiological studies, and has applied the Bradford-Hill criteria

 to evaluate the strength of the associations found in the literature, to conclude that plaintiffs’

 exposure here was capable of causing the complained-of diseases.9 His opinion thus does not

 suffer from the flaws identified by the court in McClain. Moreover, Dr. Terry’s opinion has

 already been deemed reliable under Daubert and Rule 702 [see Docs. 279, 291], so the impact

 of McClain is limited in the context of summary judgment.

                3.      Defendant’s evidence about biological plausibility                       and
                        bioavailability does not warrant summary judgment.

        According to defendant, plaintiffs must establish “that it is biologically plausible that

 their exposure could have caused the harm alleged” [E.g., Doc. 295, at 12]. In support,

 defendant cites various record documents, which indicate that fly ash particles remain stable

 under most conditions and, as a result, the constituent elements remain bound to the fly ash

 particles. As a result, defendant maintains that because the toxic constituents of fly ash are not

 bioavailable, meaning that they are incapable of being absorbed by humans, it is not

 biologically plausible that exposure to fly ash caused plaintiffs’ diseases. Thus, so the



        9
           The Bradford-Hill factors are used by epidemiologists to determine whether a causal
 inference is justified given an identified association between a toxic agent and a disease. These
 factors are: temporal relationship; strength of the association; dose–response relationship;
 replication of the findings; biological plausibility (coherence with existing knowledge);
 consideration of alternative explanations; cessation of exposure; specificity of the association; and
 consistency with other knowledge. See Michael D. Green et al., Reference Guide on
 Epidemiology, in Reference Manual at 599–606 (identifying and describing each factor).
                                                  19



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 19 of 31 PageID #:
                                    9656
 argument goes, Dr. Terry’s “opinions regarding certain constituents of fly ash do not establish

 that an exposure to fly ash is capable of causing the injuries alleged” [Doc. 295, at 12].

 Accordingly, defendant argues that plaintiffs must show, for each toxic constituent: “(1) how

 and under what conditions the constituents can become unbound from the ash particles, and

 (2) whether and to what extent that might have occurred at Kingston” [Doc. 295, at 14].

        Defendant’s argument misses the mark. Plaintiffs are not required to show biological

 plausibility or bioavailability.10 These matters are not elements of plaintiffs’ claim, nor are

 they necessary conditions to plaintiffs’ proving of general causation. Rather, biological

 plausibility is one of the nine Bradford-Hill criteria, which are “factors that guide

 epidemiologists in making judgments about causation” after an association between a toxic

 substance and a disease has been identified. Michael D. Green et al., Reference Guide on

 Epidemiology, in Reference Manual, at 60. As the Reference Manuel explains:

        There is no formula or algorithm that can be used to assess whether a causal
        inference is appropriate based on these guidelines. One or more [Bradford-Hill]
        factors may be absent even when a true causal relationship exists. Similarly, the
        existence of some factors does not ensure that a causal relationship exists.
        Drawing causal inferences after finding an association and considering these
        factors requires judgment and searching analysis, based on biology, of why a

        10
             There is some confusion in the briefing about the precise meaning of the terms
 “biological plausibility” and “bioavailability.” The Reference Manual defines “biological
 plausibility” as “consideration of existing knowledge about human biology and disease pathology
 to provide a judgment about the plausibility that an agent causes a disease,” Michael D. Green et
 al., Reference Guide on Epidemiology, in Reference Manual at 620, and “bioavailability” as “[t]he
 rate and extent to which a chemical or chemical breakdown product enters the general circulation,
 thereby permitting access to the site of toxic action.” Joseph V. Rodricks, Reference Guide on
 Exposure Science, in Reference Manual at 545. Bioavailability is also described as “the extent to
 which a compound . . . is taken up into the body.” Bernard D. Goldstein & Mary Sue Henifin,
 Reference Guide on Toxicology, in Reference Manual at 667 n.92. Because defendant’s argument
 appears to be based on both concepts, i.e., that plaintiffs have not demonstrated biological
 plausibility because they have not demonstrated bioavailability, the Court need not parse these
 difficult scientific concepts any further.
                                                20



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 20 of 31 PageID #:
                                    9657
        factor or factors may be absent despite a causal relationship, and vice versa.
        Although the drawing of causal inferences is informed by scientific expertise, it
        is not a determination that is made by using an objective or algorithmic
        methodology.
 Id. at 600. There is no threshold number of factors that must exist.11 Id. at 599; see also Cook

 v. Rockwell Int’l Corp., 580 F. Supp. 2d 1071, 1098 (D. Colo. 2006) (“Defendants cite no

 authority, scientific or legal, that compliance with all, or even one, of these [Bradford-Hill]

 factors is required.”). The Third Restatement of Torts also implies that biological plausibility

 is not required, noting that only “occasionally” is “biological-mechanism[12] evidence . . .

 sufficiently developed to prove general causation.” Restatement (Third) of Torts: Phys. &

 Emot. Harm § 28, cmt. c.(3) (2010); see also id. cmt. c.(4) (“Rarely will significant evidence

 bearing on the appropriate biological mechanism be available.”). Thus, biological plausibility

 is not necessary to establish general causation, and, indeed, it relates most clearly to the

 reliability of Dr. Terry’s testimony, which has already been established [Docs. 279, 291].

        Defendant has cited no case holding otherwise. The closest is this Court’s previous

 statement that “Under Tennessee law, in order to establish proximate cause for claims of

 intentional or negligent infliction of emotional distress or bodily injury due to environmental

 exposure to toxic chemicals or to diseases such as AIDS, ‘evidence of a medically recognized




        11
           See Austin Bradford Hill, The Environment and Disease: Association or Causation? 58
 Proc. Royal Soc’y Med. 295 (1965) (Hill acknowledged that his factors could only serve to assist
 in the inferential process: “None of my nine viewpoints can bring indisputable evidence for or
 against the cause-and-effect hypothesis and none can be required as a sine qua non.” (cited at
 Michael D. Green et al., Reference Guide on Epidemiology, in Reference Manual at 600 n.148)).
        12
           “Biological mechanisms” appear to be related to, if not synonymous with, the concept
 of biological plausibility. See Michael D. Green et al., Reference Guide on Epidemiology, in
 Reference Manual at 604-05.
                                               21



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 21 of 31 PageID #:
                                    9658
 channel of transmission’ is required.” In re Tennessee Valley Auth. Ash Spill Litig., 805 F.

 Supp. 2d 468, 479 (E.D. Tenn. 2011) (quoting Bain v. Wells, 936 S.W.2d 618, 624–25 (Tenn.

 1997)). First of all, and as explained above, the Court’s opinion in In re TVA did not

 distinguish between general and specific causation. But more importantly, general causation,

 the only matter at issue here, relates to factual rather than proximate causation, see Restatement

 (Third) of Torts: Phys. & Emot. Harm § 28 cmt. c. (2010), and Bain, the case on which In re

 TVA relied, was clearly talking about proximate cause instead of factual. In Bain, the court

 held that, in order to establish proximate cause for a negligent-infliction-of-emotional-distress

 claim based on exposure to HIV, a plaintiff must show that he was actually exposed to HIV,

 rather than merely thinking he was. See Bain, 936 S.W.2d at 624 (“[P]roof of actual exposure

 is necessary to establish that reasonable connection between the act or omission of a defendant

 and the emotional distress of a plaintiff who fears contracting AIDS.”). The court reasoned

 that “sound public policy considerations”—namely, preventing “widespread public

 misperception” about HIV and AIDS—necessitated such a rule of proximate cause, or a “legal

 limitation on the scope of liability.” Id. at 625. And the rule from Bain had to be one of

 proximate causation because, logically, a believed-but-not-actual exposure to the HIV virus

 very well could be the factual cause of emotional distress. These matters—policy-based

 considerations about the scope of legal liability—are irrelevant to general causation, which

 concerns the capability of a substance to cause a disease as a matter of fact. Contrary to

 defendant’s argument, Bain, and thus In re TVA, do not stand for the proposition that an

 epidemiologist must account for biological plausibility and bioavailability in determining that

 an identified association exhibits a causal relationship.

                                                22



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 22 of 31 PageID #:
                                    9659
        Because plaintiffs do not have to show biological plausibility or bioavailability,

 defendant’s evidence about these points is not dispositive. In other words, general causation

 can exist without either. Thus, defendant is left to argue that the evidence presented on these

 matters cuts so overwhelmingly in its favor that no reasonable jury could find for plaintiffs on

 the issue of general causation.

        But the evidence is not so clear. As an initial matter, and as plaintiffs point out, it does

 not appear that defendant’s experts have identified any studies specifically showing that human

 lungs, human skin, or the human digestive system are incapable of absorbing any of the toxic

 substances from fly ash. Rather, these are the opinions of defendant’s experts, who opine that

 plaintiffs have not demonstrated bioavailability of the toxic constituents of coal fly ash [Doc.

 237-7 at 16-18; Doc. 263-2 at 5; Doc. 263-1 at 5]. Dr. Terry, after reviewing hundreds of

 studies (on the various constituents and exposure pathways many of which appear to discuss

 bioavailability), synthesized that information to disagree and conclude that general causation

 does exist for many of the fly-ash constituents and several associated diseases. Again,

 “summary judgment is not intended to resolve disagreements among experts.” Spirit Airlines,

 431 F.3d at 931.

        What is more, bioavailability is completely irrelevant to part of plaintiffs’ claim.

 Specifically, with respect to fine particulate matter, which according to Dr. Terry, can cause

 coronary artery disease [Doc. 253-4, at 30–33 of 139], lung cancer [id. at 52–56 of 139],

 asthma [id. at 81–84 of 139], chronic obstructive pulmonary disease [id. at 93–99 of 139], and

 other respiratory disorders [id. at 100–03 of 139], bioavailability is not implicated because the

 causal mechanisms identified in Dr. Terry’s report [e.g., id. at 33, 55 of 139], do not depend

                                                23



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 23 of 31 PageID #:
                                    9660
 upon these materials being released from the fly ash particles and absorbed into the body.

 Rather, these diseases are caused by the small particle size, which allows the particles to be

 inhaled deep into the lungs where they remain indefinitely, causing continued inflammatory

 effects on lung cells and immune function. And, as explained above, the evidence of plaintiffs’

 general, collective exposure to fly ash is extensive.

        Moreover, the remaining evidence on biological plausibility and bioavailability is not

 as clear as defendant claims it to be. For example, the EPA has expressed concern about the

 leachability of toxic metals from fly ash, noting that the constituents of most environmental

 concern include arsenic, cadmium and chromium. See 75 Fed. Reg. 35128, 35137–35142

 (June 21, 2010), discussed at [Doc. 253-4, at 24–25 of 139].13 The EPA also presented data

 showing numerous instances where these constituents (especially arsenic) have leached at

 levels of concern. Id. If these toxic constituents can become unbound through leaching, as

 the EPA seems to recognize, it stands to reason that Dr. Terry could extrapolate from that

 information how those constituents might also be absorbed by the body.

        Dr. Terry’s report also discusses bioavailability for many of the other constituents. For

 example, arsenic exposure through inhalation and ingestion is causally associated with cancer

 because it acts at the cell level by damaging DNA [Doc. 253-4, at 38 of 139]. For lead, Dr.




        13
             Leaching is the process through which leachate originates. The EPA has defined
 “leachate” as “Water that collects contaminants as it trickles through wastes, pesticides, or
 fertilizers. Leaching may occur in farming areas, feedlots, and landfills, and may result in
 hazardous substances entering surface water, groundwater, or soil.” National Service Center for
 Environmental Publications, U.S. Environmental Protection Agency, Terms of Environment:
 Glossary, Abbreviations, and Acronyms, at 16 (Sept. 1992), available at
 https://nepis.epa.gov/Exe/ZyPURL.cgi?Dockey=200081E1.TXT.
                                                24



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 24 of 31 PageID #:
                                    9661
 Terry cites at least one study that addresses lead exposure and bioavailability [Id. at 20–21].14

 For cadmium, Dr. Terry discusses how “inhalation is the major route of cadmium exposure in

 occupational settings,” and cites studies showing that “exposure to cadmium particles lead to

 cadmium absorption in animals and humans” [Id. at 50–51 of 139]. For chromium, Dr. Terry

 cites data which shows that fly ash leaches chromium in amounts that can greatly exceed

 EPA’s threshold for hazardous waste at 5000 parts per billion (ppb), that the chromium that

 leaches from fly ash is the most harmful form of chromium, and that inhalation of chromium

 has been linked with cancer [Id. at 45 of 139]. Finally, for vanadium, Dr. Terry cites studies

 showing the changes in DNA and lung capacity caused by known exposures to airborne

 particles containing vanadium [Id. at 88 of 139].

        It is true that, as defendant argues, most of the exposure pathways described in these

 studies are different than those potentially experienced by plaintiffs. But courts agree that

 epidemiological evidence—of any kind—is not necessary to establish general causation. See

 In re Meridia Prod. Liab. Litig., 328 F. Supp. 2d 791, 801 (N.D. Ohio 2004), aff’d sub nom.

 Meridia Prod. Liab. Litig. v. Abbott Labs., 447 F.3d 861 (6th Cir. 2006) (collecting cases and

 concluding that “no court has held that epidemiological evidence is necessary to establish

 general causation”).    A fortiori, a precisely on-point epidemiological study mimicking

 plaintiffs’ pathways of exposure is also not a requirement, as defendant seems to suggest. And

 that makes sense. As plaintiffs glibly remind, “Because scientists do not experiment on




        14
             National Toxicology Program, U.S. Department of Health and Human Services. NTP
 Monograph on Health Effects of Low‐Level Lead, June 13, 2012, available at
 https://ntp.niehs.nih.gov/ntp/ohat/lead/final/monographhealtheffectslowlevellead_newissn_508.pdf.
                                                25



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 25 of 31 PageID #:
                                    9662
 humans there are no comprehensive studies showing exactly what happens to coal fly ash in

 the body when it is inhaled, coats the skin, or ingested” [Doc. 296, at 12]. Commissioning an

 epidemiological study mimicking plaintiffs’ exposures would very expensive, and as Dr. Terry

 no doubt understands from his attempt to do just that, logistically difficult. Thus, holding

 otherwise and requiring such a study would not only be contrary to law, but would make toxic-

 tort litigation prohibitively expensive (for both sides, because defendants would presumably

 have to somehow rebut plaintiffs’ commissioned study, or else concede general causation).

 Defendants are therefore not entitled to summary judgment on the basis of this supposed

 evidentiary deficiency.

        All told, defendant’s argument merely highlights a disagreement among the experts

 about what is required to form an opinion about general causation. Defendant’s experts

 maintain that such an opinion cannot be rendered without a showing of biological plausibility

 and bioavailability are required. Dr. Terry maintains otherwise, and has come to a conclusion

 without considering those factors, at least in the way that defendant understands them. Such

 disagreements are not appropriate grounds for summary judgment. See Spirit Airlines, 431

 F.3d at 931. The factfinder will weigh these considerations at trial.

        Biological plausibility and bioavailability are important scientific concepts. But it does

 not appear that either is strictly necessary for an association between a particular toxic agent

 and a particular disease to be considered causal. Accordingly, neither is required to establish

 proof of general causation. Defendant can, of course, continue to argue about biological

 plausibility and bioavailability at trial. But plaintiffs’ purported failure to demonstrate those

 things does not doom their claims as a matter of law, and defendant’s evidence on these points

                                                26



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 26 of 31 PageID #:
                                    9663
 is not so persuasive that no reasonable jury could, by a preponderance of the evidence, find for

 plaintiffs. Summary judgment is therefore not warranted, and defendant’s motion will be

 denied.

 III.   Defendants are entitled to judgment on plaintiffs’ strict liability claims.

        Defendant’s motion for judgment on the pleadings will be granted. Plaintiffs have not

 stated a viable strict liability claim under Tennessee law because the fly-ash cleanup and

 removal is not an inherently ultrahazardous or abnormally dangerous activity.

           A.    Legal Standard

        Rule 12(c) provides that “[a]fter the pleadings are closed but within such time as not to

 delay the trial, any party may move for judgment on the pleadings.” Fed. R. Civ. P. 12(c).

 Under Fed. R. Civ. P. 12(c), judgment on the pleadings is appropriate when there are no

 material facts in dispute and the moving party is “entitled to judgment as a matter of law.”

 Paskvan v. City of Cleveland Civil Service Commission, 946 F.2d 1233, 1235 (6th Cir. 1991).

 In the Sixth Circuit, “[a] motion for judgment on the pleadings under Rule 12(c) of the Federal

 Rules of Civil Procedure is reviewed under the same standard applicable to a motion to dismiss

 under Rule 12(b)(6).” Avalon Health Care, LLC v. Trustmark Ins. Co., 471 F. Supp. 2d 869,

 871 (M.D. Tenn. 2007).

        Accordingly, the factual allegations in the Amended Complaint must be treated as true

 for purposes of this motion. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). However, “the tenet

 that a court must accept as true all of the allegations contained in a complaint is inapplicable

 to legal conclusions.” Id. Instead, the plaintiff must plead “factual content that allows the



                                               27



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 27 of 31 PageID #:
                                    9664
 court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

 Id. at 678. The Court need not credit bald or conclusory allegations Id. at 681.

         B.       Defendant’s coal and fly ash cleanup is not an ultrahazardous activity
                  under Tennessee law

        “In Tennessee, defendants engaged in ultrahazardous activities are held strictly liable

 for injuries caused to the person or property of another by defendant’s participation in the

 activity.” Leatherwood v. Wadley, 121 S.W.3d 682, 699 (Tenn. Ct. App. 2003) (citing England

 v. Burns Stone Co., Inc., 874 S.W.2d 32, 37 (Tenn. Ct. App. 1993)). Although it does not

 appear that a Tennessee court has explicitly held that this is a question of law, as much can be

 inferred from Leatherwood, where the court, in granting summary judgment, analyzed and

 decided the issue itself as a matter of law. Id. at 700–01. In addition, the Leatherwood court

 adopted the factors from the Second Restatement of Torts, which also provides that “[w]hether

 an activity is an abnormally dangerous one is to be determined by the court.” Restatement

 (Second) of Torts § 520, cmt. l. Other jurisdictions agree.15 Plaintiffs have cited no case to

 the contrary.

        Those factors adopted in Leatherwood, which come from § 520 of the Second

 Restatement of Torts, are as follows:

        (a)   existence of a high degree of risk of some harm to the person, land or
              chattels of others;

        15
            See, e.g., Banks v. Ashland Oil Co., 127 F. Supp. 2d 679, 680 (E.D. Pa. 2001) (“The
 question of whether an activity is abnormally dangerous and, therefore, strict liability should apply
 is a matter of law for the court to decide.”); In re Hanford Nuclear Reservation Litig., 350 F. Supp.
 2d 871, 875 (E.D. Wash. 2004); Ne. Ill. Reg’l Commuter R.R. Corp. v. Kiewit W. Co., 396 F. Supp.
 2d 913, 922 (N.D. Ill. 2005); Marmo v. IBP, Inc., 362 F. Supp. 2d 1129, 1133 (D. Neb. 2005);
 Collins v. Olin Corp., 418 F. Supp. 2d 34, 47 (D. Conn. 2006); Ely v. Cabot Oil & Gas Corp., 38
 F. Supp. 3d 518, 526 (M.D. Pa. 2014).
                                                  28



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 28 of 31 PageID #:
                                    9665
        (b)   likelihood that the harm that results from it will be great;
        (c)   inability to eliminate the risk by the exercise of reasonable care;
        (d)   extent to which the activity is not a matter of common usage;
        (e)   inappropriateness of the activity to the place where it is carried on; and
        (f)   extent to which its value to the community is outweighed by its dangerous
              attributes.

 Leatherwood, 121 S.W.3d at 700. No single factor is dispositive. Id. at 700 n.12.

        The balance of these factors weighs in defendant’s favor, particularly in light of the fact

 that defendant’s job was to clean up the already-spilled and potentially hazardous fly-ash.

 Factors (c) and (f) are particularly instructive here. Defendant could have eliminated much of

 the risk associated with the fly-ash cleanup through the exercise of reasonable care, such as

 adherence to the Site Wide Safety and Health Plan, to which plaintiffs refer in their complaint,

 and also through the kind of safety monitoring and protection that defendant allegedly failed

 to provide or allow. And the value of the fly-ash cleanup to the public outweighs any inherent

 danger that could not otherwise have been eliminated through reasonable care. Factor (d) also

 weighs in defendant’s favor because fly ash is a byproduct of coal-powered energy, which is

 produced every day at Kingston and other coal-burning sites and is thus relatively common.

 Factor (e) similarly weighs in defendant’s favor because the entire purpose of the fly-ash

 cleanup was to remove potentially hazardous waste from the surrounding area. The activity

 was thus appropriate for the area because it could not have been relocated elsewhere. Even if

 factors (a) and (b) were to weigh in plaintiffs’ favor, the overall balance still favors defendants.




                                                 29



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 29 of 31 PageID #:
                                    9666
 Other courts appear to agree that hazardous waste disposal or removal is not ultrahazardous or

 abnormally dangerous.16 Once again, plaintiffs have cited no case to the contrary.

        Indeed, plaintiffs’ response does not address most of these factors, but rather argues

 that strict liability should attach for two main reasons: first, because defendant’s unsafe

 handling of the fly-ash cleanup, allegedly in violation of environmental regulations, created an

 abnormal danger; and second, because defendant could be held strictly liable under the

 Comprehensive Environmental Response, Compensation, and Liability Act (hereinafter,

 “CERCLA”), 42 U.S.C. § 9601 et. seq., they must also be strictly liable for personal damages

 to plaintiffs under Tennessee law [Doc. 254 ¶ 6]. The first argument clearly sounds in terms

 of negligence or perhaps negligence per se, rather than strict liability.           That plaintiffs

 characterize defendant’s handling of the fly ash as unsafe and in violation of regulations

 implies that proper handling and disposal of these materials would minimize or eliminate the

 risk, which undercuts their assertion that the activity is inherently dangerous. Plaintiffs’

 second argument has no basis in law. There does appear to be something like a strict liability

 provision in CERCLA, 42 U.S.C. § 9607(a), which makes potentially responsible parties liable


        16
            See Bernbach v. Timex Corp., 989 F. Supp. 403, 407 (D. Conn. 1996) (internal quotation
 omitted) (dismissing strict liability claims based on soil and groundwater contamination resulting
 from a manufacturing facility’s disposal of various hazardous substances, where plaintiffs failed
 to allege “circumstances and conditions in . . . [defendant’s] activities such that, irrespective of
 due care, the activities involve a risk of probable injury to such a degree that [they] fairly can be
 said to be intrinsically dangerous.”); Schwartzman, Inc. v. General Elec. Co., 848 F. Supp. 942,
 945 (D.N.M. 1993) (granting motion to dismiss strict liability claim based on disposal of petroleum
 products and other hazardous wastes; despite the fact that such materials “may present a substantial
 degree of risk . . . when mishandled,” the court held that “the risks can be eliminated through the
 exercise of reasonable care”); Phillip Morris, Inc. v. Emerson, 368 S.E.2d 268, 282 (Va. 1988)
 (strict liability did not apply to the removal of buried tanks of the “supertoxic” chemical
 pentaborane because defendants had the ability to eliminate the risk of injury by exercising
 reasonable care).
                                                  30



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 30 of 31 PageID #:
                                    9667
 for cleanup, response, natural-resource damage, and health studies. Id. § 9607(a)(4). Even

 assuming that provision applied to defendant, there does not appear to be liability under

 CERCLA for the personal-injury damages on which plaintiffs’ strict liability claims are based.

 42 U.S.C. § 9607(a)(4). Thus, CERCLA says nothing about whether defendant should be held

 strictly liable for plaintiffs’ alleged personal injuries. And in any event, whatever kind of strict

 liability the federal government might impose on defendant says very little about whether fly-

 ash disposal is ultrahazardous or abnormally dangerous under Tennessee state law. As

 previously discussed, it is not.

        Defendant’s motion for judgment on the pleadings will therefore be granted.

 IV.    Conclusion

        For the reasons stated, defendant’s motion for summary judgment on the issue of

 general causation [Doc. 237], is hereby DENIED, and defendant’s motion for judgment on the

 pleadings with respect to plaintiffs’ strict liability claims [Doc. 251] is GRANTED. These

 cases will therefore proceed to trial on phase one, in accordance with the bifurcated trial plan

 previously entered by the Court [Doc. 136].

        IT IS SO ORDERED.


                                       s/ Thomas A. Varlan
                                       CHIEF UNITED STATES DISTRICT JUDGE




                                                 31



Case 3:13-cv-00505-TAV-HBG Document 302 Filed 09/19/18 Page 31 of 31 PageID #:
                                    9668
